             Case 1:20-cv-01947-FYP Document 24 Filed 11/19/21 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


  JUDICIAL WATCH, INC.,

                          Plaintiff,

                   v.                                      Civil Action No. 20-1947 (TSC)

  U.S. DEPARTMENT OF JUSTICE, et al.,

                          Defendants.


                                       JOINT STATUS REPORT

        Plaintiff Judicial Watch, Inc. (“Plaintiff”) and Defendants, Office of Information Policy

(“OIP”) and the Federal Bureau of Investigation (“FBI”) – both components of the U.S.

Department of Justice – and the Office of the Director of National Intelligence (“ODNI”),

respectfully submit this Joint Status Report pursuant to the Court’s Minute Order of January 15,

2021.

        1.       At issue are nearly identical Freedom of Information Act (“FOIA”) requests

served on OIP, the FBI, and ODNI on May 12, 2020. The requests seek records about a January

5, 2017 Oval Office meeting between former Deputy Attorney General Sally Yates, former

Director of National Intelligence James Clapper, former CIA Director John Brennan, former FBI

Director James Comey, then-President Barak Obama, and others. The time frame of the request

is December 1, 2016 to January 31, 2017. Plaintiff filed suit on July 12, 2020, when the

agencies failed to issue determinations on the requests within the time period required by law.

This is the parties’ eleventh status report. Their last status report was filed on August 20, 2021.

        2.       OIP made its first interim production on March 12, 2021 and issued its final

production on May 18, 2021.
            Case 1:20-cv-01947-FYP Document 24 Filed 11/19/21 Page 2 of 3




       3.       The FBI made a first interim production on June 17, 2021. The remaining

records identified by the FBI required consultation with another government agency. The

consultation is completed, but the pages are undergoing several layers of internal review. The

FBI anticipates releasing non-exempt information by January 31, 2022. This will be the final

production for the FBI, notwithstanding any subsequent consults from other government

agencies.

       4.       ODNI initially identified a large volume of potentially responsive records. After

discussions between the parties, Plaintiff agreed on April 14, 2021 to exclude news clippings

from the universe of potentially responsive documents. On August 17, 2021, ODNI asked

Plaintiff to identify custodians, by name or by position, whose records Plaintiff wanted ODNI to

search and to provide search terms. On August 26, 2021, Plaintiff provided ODNI with the

requested custodians and search terms. The initial searches run by ODNI resulted in

approximately 430 potentially responsive records. ODNI is in the process of reviewing those

records for responsiveness. Where appropriate, ODNI has begun referring records that contain

other agency equities for inter-agency review. Because ODNI does not control other agencies’

timing in providing a response, it cannot yet estimate a first production date. However, it

remains committed to proceeding as quickly as practicable under these circumstances.

       5.       The parties propose that they file another joint status report on or before February

7, 2022, which would be one week after the FBI’s anticipated final production.




                                                -2-
        Case 1:20-cv-01947-FYP Document 24 Filed 11/19/21 Page 3 of 3




Dated: November 19, 2021                Respectfully submitted,

/s/ Paul J. Orfanedes___                MATTHEW M. GRAVES
Paul J. Orfanedes                       D.C. Bar. #481052
D.C. Bar No. 427916                     United States Attorney
Judicial Watch, Inc.
425 Third Street, SW Suite 800          BRIAN P. HUDAK
Washington, D.C. 20024                  Acting Chief, Civil Division
Telephone: (202) 646-5172
Email: Porfanedes@judicialwatch.org      /s/ Sean M. Tepe
                                        SEAN M. TEPE, DC Bar #1001323
                                        Assistant United States Attorney
Counsel for Plaintiff                   555 Fourth St., N.W.
                                        Washington, D.C. 20530
                                        Phone: (202) 252-2533
                                        Email: sean.tepe@usdoj.gov
                                        Counsel for Defendants




                                      -3-
